                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 AT NASHVILLE

 BRAD AMOS                                             )
                                                       )      Case No. 3:21-cv-00923
 v.                                                    )      Judge Richardson
                                                       )      Magistrate Judge Holmes
 THE LAMPO GROUP, LLC                                  )

                                           ORDER

       Pending before the Court is Defendant’s Motion for Resolution of Dispute Under the

Agreed Confidentiality Order (Docket No. 118), to which Plaintiff filed a response in opposition

(Docket No. 127) and Defendant filed a reply in support (Docket No. 133). For the reasons that

follow, Defendant’s motion (Docket No. 118) is DENIED as moot and without prejudice as to any

determination of whether the subject Disputed Information should remain under seal.

                                    I.      BACKGROUND

       Familiarity with this case is presumed and the facts are only recited here as necessary to

explain or give context to the Court’s ruling. The parties’ current disagreement 1 stems from



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          The parties have engaged in an inordinate number of discovery disputes throughout this
litigation. The parties have previously been reproached by this Court, but these messages appear
to have had little to no effect. As this Court has stated multiple times:

       It is clear to the Court from the parties’ filings that the Court’s admonitions have
       had no impact and that the parties are intent on further straining the Court’s already
       limited resources with their inability or unwillingness to manage this case,
       including discovery, without judicial intervention, which impairs not only the
       efficient and expeditious resolution of the parties’ disputes in this case but also
       interferes with the Court’s responsibility to administer justice fairly, promptly, and
       adequately to all litigants in all other cases.

(Docket No. 71 at 1 (citing Ciccio v. SmileDirectclub, LLC, Case No. 3:19-cv-00845, 2021 WL
3291787, at *3 (Aug. 2, 2021)); Docket No. 82.) A large portion of the parties’ filings was spent
describing and characterizing email correspondence between counsel, which the Court does not
find helpful in any respect, as the Court is entirely capable of reading appended emails.

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whether certain portions of deposition transcripts can be designated as confidential. The

designations at issue come from the deposition transcripts of Luke LeFevre (May 16, 2023), J.B.

Waggoner (May 30, 2023), David DiCicco (June 9, 2023), Armando Lopez (June 15, 2023), David

Ramsey (June 21, 2023), and Jack Galloway (June 28, 2023) (the “Disputed Information”).

(Docket No. 119 at 2.)

       This dispute arose in the context of Defendant’s dispositive motion and Plaintiff’s response

in opposition to that motion. Defendant filed a motion for summary judgment on July 28, 2023

(Docket No. 113) and Plaintiff’s response was due to be filed by September 1, 2023. (Docket No.

117.) In the months of June, July, and August 2023, which led up to and followed the filing of

Defendant’s summary judgment motion, the parties exchanged emails regarding the

confidentiality of the Disputed Information. (Docket No. 119 at 2–4; Docket No. 127 at 2–4;

Docket No. 127-1; Docket No. 127-2; Docket No. 133-1; Docket No. 133-2.) On August 3, 2023,

the parties met in person to discuss whether and how the Disputed Information would be

designated as confidential. (Id.) The parties did not come to an agreement during this meeting.

       On August 29, 2023 – three days prior to the deadline for Plaintiff to file his response to

the summary judgment motion – Defendant filed the pending motion for resolution of dispute

under the agreed confidentiality order. (Docket No. 119.) In its motion for resolution of dispute,

Defendant alleged that Plaintiff had indicated an intent to “file the disputed confidential

information unredacted” in support of his response to Defendant’s summary judgment motion,

which Defendant claimed was in violation of the parties’ agreed confidentiality order. (Id. at 3.)

       The next day, on August 30, 2023, this Court entered an interim order, which did not rule

on the merits of the motion for resolution of dispute but instead directed the parties as follows:

       1.      If Plaintiff intends to include any Disputed Information in support of his
               response in opposition to Defendant’s motion for summary judgment or for

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               any other purpose, Plaintiff must file a motion to seal in compliance with
               Local Rule 5.03(b). Defendant, as the party who designated the Disputed
               Information as confidential, will retain the burden of meeting the
               requirements set out in Local Rule 5.03(a).

       2.      If Plaintiff files a response that includes Disputed Information and for which
               he files a motion to seal in accordance with the preceding paragraph and
               Local Rule 5.03(a), he must also separately file a redacted version of the
               response as required by Local Rule 5.03(c).

(Docket No. 120 at 3 (footnote omitted).)

       Plaintiff then timely filed his response in opposition to the summary judgment motion on

September 1, 2023. (Docket No. 121.) In accordance with the Court’s interim order, Plaintiff filed

a motion to seal the deposition transcripts that were filed in support of his response (Docket No.

124), and he filed the transcripts under seal (Docket Nos. 126-1, 126–3 to 126-7). 2 On September

12, 2023, Plaintiff filed his response in opposition to Defendant’s motion for resolution of dispute. 3

(Docket No. 127.) On September 19, 2023, Defendant filed its reply in support of its motion for

resolution of dispute. (Docket No. 133.)




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          Along with the six deposition transcripts referenced in motion for resolution of dispute,
Plaintiff also filed under seal the transcript from the deposition of Lara Johnson (Docket No. 126-
2) and seven exhibits (Docket Nos. 125-1 to 125-7). This transcript and these seven exhibits were
not specifically referenced in Defendant’s motion for resolution or in any filings in support of or
opposition to the motion for resolution. (Docket Nos. 118, 127, 133.)
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          On September 15, 2023, Defendant filed its response to Plaintiff’s motion for leave to
seal. (Docket No. 130.) Along with its response, Defendant filed under seal deposition transcripts
with proposed redactions. (Docket Nos. 130-1 to 130-7.) Defendant also filed a separate motion in
which it asked the Court to seal its response to Defendant’s motion. (Docket No. 128.) In this
order, the undersigned does not take a position or rule on either Plaintiff’s motion for leave to file
document under seal (Docket No. 124) or Defendant’s response to Plaintiff’s motion for leave to
file documents under seal (Docket No. 128), which will be addressed by the District Judge in
connection with the underlying motions to which the filings relate.

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                                          II.      ANALYSIS

        The parties dispute whether the procedures from the Agreed Confidentiality Order were

properly followed and whether the Disputed Information may be designated as confidential. In its

motion, Defendant seeks resolution of the parties’ dispute “regarding information in the deposition

transcript of [Defendant’s] witnesses designated confidential by [Defendant.]” (Docket No. 118 at

1.) Defendant asks the Court to order Plaintiff to file redacted versions of the deposition transcripts,

which Defendant redacted itself. (Id. at 2.) Defendant seeks this relief to “preserve the designated

information so that the Court may resolve the dispute in accordance with the Confidentiality

Order.” (Id.) In its memorandum in support of its motion, Defendant makes general substantive

arguments about the propriety of the designations and “acknowledges that it has the burden to

prove to the Court why the designated information should be sealed,” but states that, “at this

juncture,” it is only asking the Court to order Plaintiff to “comply with Confidentiality Order” and

file the transcripts with redactions. (Docket No. 119 at 4.)

        In response, Plaintiff asserts that Defendant failed to properly follow the procedures set

forth in the Agreed Confidentiality Order and to meet its burden to demonstrate that its desired

designations are entitled to confidentiality. (Docket No. 127 at 5.) Defendant points to Plaintiff’s

failure to provide specific arguments to show why each designation should be deemed confidential

and to Plaintiff’s failure to file for a protective order. (Id.)

        The parties previously entered into an Agreed Confidentiality Order, which sets forth

procedures to designate information or documents as confidential. (Docket No. 42.) If a party seeks

to designate any portion of deposition testimony as confidential, the party may do so either (i)

during the deposition by identifying and designating the testimony on the record, or (ii) after

receiving the deposition transcript by providing a “Confidentiality Log” to the other parties that



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identifies and designates the testimony. (Id. at ¶ 3(c).) The Agreed Confidentiality Order also

includes a dispute resolution procedure regarding documents designated as confidential. (Id. at ¶

6.) To resolve any issues related to the deposition designations, the parties were to comply with

the Court’s procedures for discovery dispute resolution, which is clearly set forth in the Initial

Case Management Order and with which the parties should be very familiar given the inordinate

number of discovery disputes in this matter. The parties must: (1) hold a telephonic or in-person

discussion with lead counsel with respect to the dispute; (2) make a good faith effort to resolve the

dispute; and (3) promptly bring any unresolved disputes to the attention of the Magistrate Judge

via a request for a discovery conference, which must be filed as a “motion for resolution of

discovery dispute.” (Docket No. 26 at ¶ G.)

       As applied here, Plaintiff had 14 days to dispute Defendant’s confidential deposition

designations after Plaintiff received those designations. (Docket No. 42 at ¶ 6.) Defendant then

had the burden to show that such designations were appropriate and met the standard for a

protective order under the Federal Rules of Civil Procedure. (Id.) After Plaintiff informed

Defendant that he disagreed with Defendant’s designations, Plaintiff was barred from filing the

designated depositions and the parties were ordered to treat the designations as confidential for 14

days, which is referred to as the “grace period.” (Id.)

       Defendant sent confidentiality logs to Plaintiff on the following dates:

           •   Luke LeFevre: June 15, 2023
           •   J.B. Waggoner: July 3, 2023
           •   David DiCicco: July 3, 2023
           •   Jack Galloway: July 21, 2023
           •   David Ramsey: July 28, 2023
           •   Armando Lopez: August 1, 2023 4


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        Defendant also sent designations for the deposition of Lara Johnson (Docket No. 127-3
at 20–23) and for the second 30(b)(6) deposition of Armando Lopez (id. at 4–7). Defendant did
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(Docket No. 127-3.) The parties agreed that the grace period would be extended from 14 days after

receipt of each individual deposition designation to 21 days after the parties could meet in person

to discuss “all disputed designations before requesting a conference with the Court.” (Docket No.

127-1 at 4.) This meeting occurred on August 3, 2023, so the final day of the grace period was

August 24, 2023. (Docket No. 119 at 3; 127 at 3.)

       In its motion, Defendant asserts that the parties complied with the discovery dispute

resolution procedures and attempted to resolve the dispute but reached an impasse on August 22,

2023. (Docket No. 118 at 2.) On that date, Plaintiff’s counsel sent an email to Defendant’s counsel

that purported to “review” the reasons that Defendant provided as to why the deposition

designations were proper. (Docket No. 127-2 at 1.) In this email, Plaintiff’s counsel agreed with

some of the designations, but provided argument about why it felt that other designations were

inappropriate. (Id. at 1–8.) The parties continued to share email correspondence regarding their

positions on the designations through August 29, 2023. (Docket Nos. 133-1, 133-2.)

       As of the date of this Order, the parties have not requested a conference with the Court to

resolve the propriety of the deposition designations at issue. As the party seeking the confidential

designation, Defendant should have timely sought a ruling from this Court on whether its desired

deposition designations were appropriate and met the standard for a protective order under the

Federal Rules of Civil Procedure. This was the procedure contemplated under the Agreed

Confidentiality Order and Local Rule 5.03. Defendant failed to follow the proper procedure. This

failure came despite Defendant’s counsel indicating in email correspondence to Plaintiff’s counsel

that it was aware of the proper course of action to take:


not reference either deposition in its motion for resolution. Accordingly, the Court will not address
these depositions in this order.

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       Would you agree to an extension of the grace period until 21 days following receipt
       of the last transcript (Lopez No. 2) That would give us time to make any
       designations, you to review and challenge and then time to schedule a meeting to
       discuss all disputed designations before requesting a conference with the Court.

(Docket No. 127-1 at 4.) Rather than request a conference with the Court to decide on the propriety

of the designations, Defendant filed a motion asking the Court to order Plaintiff to file versions of

depositions transcripts that Defendant itself redacted.

       In its motion, Defendant presented the Court with abbreviated arguments as to why the

Disputed Information should be designated as confidential. (Docket No. 119 at 4–6.) Defendant

argues that the Disputed Information was marked as confidential – and presumably should be

designated as confidential – based on “one or more” of five broad bases, including that the

information was “related to confidential business information” or “sealed in another lawsuit,”

among other reasons. (Id.) The Court finds these arguments to be overly general. The Court is not

able to determine whether particular testimony may be designated as confidential and properly

sealed from public view under the demanding standards articulated by the Sixth Circuit, which

Defendant fails to acknowledge or address. See, e.g., Shane Grp., Inc. v. Blue Cross Blue Shield

of Michigan, 825 F.3d 299 (6th Cir. 2016); Beauchamp v. Fed. Home Loan Mortg. Corp., 658 F.

App’x 202 (6th Cir. 2016); Rudd Equip. Co., Inc. v. John Deere Constr. & Forestry Co., 834 F.3d

589 (6th Cir. 2016). See also Local Rule 5.03. As the Sixth Circuit has held, “[t]he proponent of

sealing must provide compelling reasons to seal the documents and must demonstrate that the

sealing is narrowly tailored to those reasons – specifically, by analyzing in detail, document by

document, the propriety of secrecy, providing reasons and legal citations.” Beauchamp, 658 F.

App’x at 207 (quoting Shane Grp., Inc., 825 F.3d at 305–06) (internal quotations omitted).

Defendant has failed to meet this standard in its motion for resolution of dispute under the agreed

confidentiality order. Accordingly, to the extent Defendant is seeking to designate the Disputed

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Information as confidential via the pending motion (Docket No. 118), that request is denied.

Nevertheless, because Plaintiff followed the Court’s procedures by filing a motion to seal certain

portions of its response (Docket No. 124), and Defendant subsequently also filed a motion to seal

(Docket No. 128), the issue of whether restricted access to the Disputed Information is warranted

will be decided in the context of those motions.

       Furthermore, the Court finds that Defendant’s request that the Court order Defendant to

file redacted transcripts has been mooted by Plaintiff’s filing of the deposition transcripts under

seal and by Plaintiff’s motion for leave to file under seal (Docket No. 124). Defendant itself

concedes in email correspondence between counsel that “if you [Plaintiff] file the redacted

information and comply with Local Rule 5.03, the Motion will be moot.” (Docket No. 133-2.)

Defendant’s concern – that the Disputed Information be “protected from disclosure until such time

as the Court determines whether it may be sealed” (Docket No. 119 at 7) – has been alleviated by

the filing of the Disputed Information under seal, even if that information was not filed in a

redacted version as Defendant would prefer. 5

       For all of these reasons, Defendant’s motion for resolution of dispute under the agreed

confidentiality order (Docket No. 118) is DENIED without prejudice to any determination of

whether the subject Disputed Information should remain under seal.

       As a final matter, in a footnote in its reply, Defendant made a request that the Court

“tentatively” place under seal the confidentiality logs (Docket No. 127-3) that Plaintiff filed in


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         As stated above, the undersigned takes no position in this order on whether the Disputed
Information should be sealed under Local Rule 5.03, applicable Sixth Circuit standards, or any
other applicable law. See supra, n.3. The undersigned finds it important to note, however, that the
parties have once again unnecessarily consumed judicial resources by failing to extra-judicially
resolve the issue, which was as simple as reserving the question of confidentiality for
determination by a motion to seal as contemplated by the Agreed Confidentiality Order and Local
Rule 5.03.

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support of his response to Defendant’s motion. (Docket No. 133 at 1 n.1.) Defendant claims that

the filing of the confidentiality logs is itself a “violation of the Agreed Confidentiality Order”

because those confidentiality logs contained names of unrelated third parties. (Id.) The Court has

reviewed the confidentiality logs and finds no discernible basis to seal those documents. The mere

identification of unrelated third parties does not inherently carry any special considerations that

would warrant sealing and the other descriptions of purported confidential information are of

general references in deposition transcripts. Further, if the identification of unrelated third parties

is so significant as to warrant nondisclosure, Defendant should have timelier moved to seal that

information or at least made more of an effort to demonstrate a basis for sealing than a mere

reference in a footnote. Defendant’s minimal effort at requesting relief from the Court is simply

too little too late. As to this specific information alone, the Court finds that there is no basis to seal

the information under the strict standards imposed by the Sixth Circuit.

        It is SO ORDERED.




                                                BARBARA D. HOLMES
                                                United States Magistrate Judge




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